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10   Attorneys for Plaintiff individually and on behalf of all others similarly situated
11
                                   UNITED STATES DISTRICT COURT
12
                                NORTHERN DISTRICT OF CALIFORNIA
13
                                         SAN FRANCISCO DIVISION
14

15   HADONA DIEP, individually and on                       Case No. 4:21-cv-10063-PJH
     behalf of all similarly situated persons,
16                                                          NOTICE OF APPEARANCE OF
                            Plaintiff,                      ELLIOT CONN AS COUNSEL OF
17                                                          RECORD FOR PLAINTIFF
     v.
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     APPLE, INC.,
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                            Defendant.
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                             NOTICE OF APPEARANCE OF ELLIOT CONN
                                    CASE NO. 4:21-cv-10063-PJH
       Case 4:21-cv-10063-PJH Document 31 Filed 03/13/22 Page 2 of 2



 1   TO THE CLERK OF THE COURT AND ALL COUNSEL OF RECORD:

 2          PLEASE TAKE NOTICE THAT Elliot Conn of Conn Law, PC hereby appears as

 3   counsel of record in this action for Plaintiff HADONA DIEP. His contact information is as

 4   follows:

 5          Elliot Conn
 6          CONN LAW, PC
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 7          San Francisco, CA 94104
            Telephone:     415.417.2780
 8          Facsimile:     415.358.4941
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 9
10          Please serve above counsel with all pleadings, notices, and other filings in this action.

11
     Dated: March 13, 2022                        CONN LAW, PC
12

13
                                                  /s/ Elliot Conn
14                                                ELLIOT CONN
                                                  Attorney for Plaintiff
15                                                HADONA DIEP

16                                                [All Counsel for Plaintiff appear on the caption
                                                  page]
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                            NOTICE OF APPEARANCE OF ELLIOT CONN
                                   CASE NO. 4:21-cv-10063-PJH
